       Case 1:20-cv-00812-SDG Document 26 Filed 07/30/20 Page 1 of 12



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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORG
                                 ATLANTA DIVISION                                          -.




Phillips
Plaintiff(s)
                       V.                                    Case No. 1:20-CV-008 I 2-SDG
The Life Property Management Services, LLC, et al
Defendant(s)

                                      Affidavit of Service

I, byron-wendell: phillips, certify that on the 15th day of July, 2020 a true and correct copy

of the Amended Complaint was served, at the last known mailing address, upon (1) The Life

Property Management Services, LLC; (2) Tonya Carter; (3) 3321 Peppertree Circle Decatur

LLC; (4) REGISTERED AGENTS NC.; (5) Registered Agents Inc; (6) REGISTERED

AGENTS NC; (7) NORTHWEST REGISTERED AGENT, LLC.; (8) Bill Havre; (9)

QUICK DROP IMPOUNDING, TOWING & RECOVERY, NC.; (10) Tenesha Thomas;

(11) Curtis McMurray; (12) DeKalb, County of; (13) Jeffrey L. Mann, Esq.; (14) James W.

Conroy; (15) Officer Morgan; and (16) Officer Harris, Badge #3303 via deposit in the U.S.

Mail. Each package included a true and correct copy of the Summons, Notice of a Lawsuit

and Request to Waive Service of a Summons, 2 copies of the Waiver of the Service of

Summons, a prepaid means of returning the Waiver of the Service of Summons, and a copy

of Appendix B Pretrial Forms. Attached is Exhibit “A” comprised of a scanned copy of the

Certified Mail Receipts. On the 21st day of July, 2020 the packages served upon (1) The


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                 Case 1:20-cv-00812-SDG Document 26 Filed 07/30/20 Page 2 of 12




          Life Property Management Services, LLC; and (2) Tonya Carter were retrieved from my

          mailing location for NSS (NO SUCH STREET ADDRESS). That particular street address

          was/is stated in the last lease document, Par. 9, 1. 3;   ~,   P. 1, p. 13 PDF, July 11, 2019. The

          city name was stated as Tucker, Georgia and the 30083 zip code is a Stone Mountain,

          Georgia zip code. On the 22nd day of July, 2020 the summonses were amended and re

          issued to reflect the change in the city name, and the packages were re-served upon those

          parties via deposit in the U.S. Mail. See Exhibit “B” for scanned copies of Certified Mail

          receipts and documentary proofs.




Sworn to and subscribed before me this ~ day of
July, 2020.                                                     rwendell :phillips
                                                          Sovereign Principal
                                                          non-negotiable autograph, all rights reserved
Notary Public’e                                           sui juris

                ZY    FL.q’   or~                         3308 Peppertree Circle, Apt. D
Printed                                                   Decatur, Georgia 30034
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Case 1:20-cv-00812-SDG Document 26 Filed 07/30/20 Page 3 of 12




                       EXHIBIT “A”
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                    Case 1:20-cv-00812-SDG Document 26 Filed 07/30/20 Page 4 of 12




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                       EXHIBIT “B”
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           Case 1:20-cv-00812-SDG Document 26 Filed 07/30/20 Page 12 of 12




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This Apartment Rental Contract us a base between the Owner of the Apartment Community and the Residents who are basing the apartment
The General Provisions of the base which foitowthe signalizes atthe bottom of this page and any separate addenda signed by the partiesare incorporated
into and become part of thus base Paragaph numbers on thus page correspond to paragraph numbers a the General Provisions
Lease Date: July 11. 2019
Managenient: The Life Properties        tIC
             Q Owner   & Management do. as agent ~ owner
Apartment Communhy Name: 3321P.ppertreecircleDecaturLLc
Apartment No: 3308—D
ApartrnentAd&ess: 3308 Penoertree Circle Apt D. Decatur, GA 30034
ResidenisiTenents: Byron Phillios

Other Occupants
of Apartment:
Par.1. LeaseTerm.            12     Monthsand _____ Days
       SegmnungDate         10/01/2010                                            EndingDate      09/30/2019
Par.3.   RentDueMonthly                           $      695.00
         Pro Rated Rent Due at Lease Signing:     $ ________________
         Dates of Prorated Rent                    ___________________ to ___________________

         MonthtoMonthFee                         $          200.00
         RentrsPayableto The Life at Peptertree Circle
Par. 4. Late Fees and Insufficient Funds Fees:
         Date on Which Rent Is Late                        5
         ArnountofLateFee                    $         100.00              or _________________%ofRent
         PerDayLateFee                       $          0.00               perdayafter ___________________ ofthemonth
         Returned or Insufficient Check Fee: ~Seriice Fee of$            35.00            or CI 5% of Amount of Check plus C) Sank Service Fee of
         S _______________________ (amount charged by bank to management for charge back)
ParS. Re.KeyLockCharge:                      $         75.00
         Non-refundabhteaseFee:              $         195.00
         Security Deposit:                   $ ____________________
         Bank Name: Chase Bank                                                                                     (Where Security Deposit Kept)
Par. 6. How Much Notice Reqr*ed To Non-Renew Lease Prior To End of Initial Lease Term: 60 Days
         Renewal Period                 C) Month to Month (1 month at a time) Renewal ~ Si-Monthly (2 months at a time) Renewal
         NodceRequredtEndneriewal       C) 3odaystoendMonthtoMonthRenewal               ~ 6odaystoendBi-MonthlyRenewal
Par. 7. ~7em,ina6on Option. Amount of Notice Required for Electing Early Termination:       60 Days Written Notice
Par. 9. Disclosure Notice of Owner or Managing Agent and Equal Housing Opportunity Policy
         Name of Managing Agent or Owner The Life Proprt’r ‘4aa..,,.......at—.~
         Address ofAgentAuthorized to
         Manage Apartment Commun            853 Henderson Mill Rd. Tucker, GA 30083
         Name of Owner or Registered
         Authorized to Receive Notices and Lawsuits            ?iA~~ •s=: - .~rl
                                                       _________________________________________________

         Address of Owner or Registered Agent       -“
         AuthocizedtoReceryeNoticesandLaww,tS~853 Henderson Mill Rd. Tucker. GA 30083
         CotporateNatneofGRECLicensee The Eire rroterty ~ay...aerit
         GREG Corporate License No The Life Property Management
Per. 17. Flood Disclosure      ~ Not Applicable C) Apartment has been flooded previously
Par.34. SpeciaiSt.putabons Renters Insurance is required to he maintained throughout the lease
agreement and must he set up orior to move in. any lapse in coverage is a direct
violation of lease agreement and management reserves the right to terminate lease
agreement with a 30 day notice.


Signatures of Patties:                                                        Residents:
Management:
                                                                              Resident: Byron Phillips
The Life Property Management
                                                                              BYRON LJENDELL PHILLIPS                              (Resident Signature)
Name of Owner or Management Company                                           Resident:
SyS~.6a44~                                                                                                                         (Resident Signatwe(
    Signature of O(nefor Management Company
                                                                              Resident:
As: Property Manager                                                  (The)
                                                                                                                                    Resident Slgnaturel
                                                                              Resident:
                                                                                                                                   (Resident Signature)
Cqrnflr 0 INtl. Mla. A~.raca sacca. I~
AstiØrirind                               lvi Blue Moon esignature Services Document ID: 183147545 I


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